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        EMPLOYEE INVENTION, CONFIDENTIAL INFORMATION, NONCOMPETITION AND NON-SOLICITATION
                                             AGREEMENT



      This is a legally binding contract. By electronically agreeing to these terms, I agree to be bound by them
      and agree to each of the terms set forth below. This Employee Invention, Confidential Information,
      Noncompetition and Non-solicitation Agreement (this “Agreement”) is entered into by and between me
      and DigitalGlobe, Inc., including each of its subsidiaries (“Company”), and is effective as of the date I
      electronically agree to these terms.

      In consideration of my employment by the Company, being provided with access to Company confidential
      and proprietary information, payment of salary and provision of Company benefits to me, I agree as
      follows:

          1.   Business Confidential Information. In the course of my employment with the Company, I
               acknowledge that I will have access to certain information, including, but not limited to, business
               plans, customer lists, marketing programs, price lists, salary and human resource information,
               technology development information, drawings, reports, inventions, and other material that
               contain, embody or disclose trade secrets, confidential business and technical information and
               proprietary business information of the Company, its shareholders, customers, or third parties to
               whom the Company owes obligations of confidentiality (collectively, the “Business Confidential
               Information”).

          2.   Nondisclosure of Business Confidential Information. Except as may be necessary to perform
               my work with the Company, I agree that neither during the term of my employment nor at any
               time after my employment is terminated (until such time, as ever, as the Business Confidential
               Information becomes part of the public domain other than by my breach of this Agreement), I
               shall not: (i) disclose or furnish to any person any Business Confidential Information; (ii) use any
               Business Confidential Information for my own benefit or the benefit of others, or (iii) remove any
               Business Confidential Information from the Company facilities. Any Business Confidential
               Information, including all hard copies and electronic storage, that I receive shall be returned to
               the Company upon request or, in any event, immediately upon termination of my employment
               with the Company.

          3.   Disclosure of Inventions. I agree to promptly furnish the Company with a complete record of
               any and all intellectual developments, including inventions and improvements, whether
               patentable or not, which I, solely or jointly, may conceive, make or first disclose either, (a) during
               my employment with the Company, whether conceived on or off Company premises and
               whether conceived during or after normal business hours, or (b) one year after termination of my
               employment with the Company; if (i) related in any way to the actual or anticipated business
               activities of the Company, or (ii) suggested by or resulting from any of my prior work for the
               Company.

          4.   Assignment of Inventions. I agree to, and do by this Agreement, grant and assign to the
               Company, or its nominee, my entire right, title and interest in and to intellectual developments
               coming within the scope of paragraph 3 above, together with any and all domestic and foreign
               patent rights and copyrights. I agree to promptly, upon request from the Company and without
               additional compensation (but at the Company’s sole expense), do all lawful things reasonably
               requested by the Company to assist the Company in securing all of the rights contemplated by
               this Agreement, including, but not limited to, executing patent applications.


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          5.   Disclosure of Prior Inventions. Prior to commencing my employment, I agree to give the
               Company written notice of any of my prior employment agreements, patents or other
               intellectual property rights that might conflict with the interests of the Company under this
               Agreement, and also to provide the Company with a copy of such agreements or patents.

          6.   Non-competition. I agree that I shall not, during the term of my employment by the Company
               and for a period of twelve months thereafter, compete for any reason with the Company in its
               direct business lines, including, but not limited to, satellite and aerial imagery operations,
               product distribution, mapping and other value added services, by directly or indirectly taking any
               of the following actions: (a) owning, managing, operating, joining, controlling or providing
               services to any entity, regardless of entity form or location, that engages in or is seeking to
               engage in the current or planned business activities of the Company; (b) serving as an employee,
               agent, consultant, officer, or director of any such entity; or (c) inducing or attempting to induce
               any customer, supplier, or business relation of the Company to cease doing business with the
               Company, or in any other way interfering with the relationship between any customer, supplier
               or business relation and the Company. If, after termination of my employment with the
               Company, I violate the covenants contained in this paragraph, then the duration of the covenant
               shall be extended from the date I resume compliance with the covenant, reduced by the number
               of days following my termination that I was not in violation of the covenant.

          7.   Reasonableness. I acknowledge that the restrictions stated in Section 6 above are reasonable
               and that the covenants are necessary to protect the Company’s interest in Business Confidential
               Information, which would be inevitably disclosed if were to compete, directly or indirectly, with
               the Company in its direct product lines. If, however, a court of competent jurisdiction deems the
               restrictions as stated in Section 6 above to be unreasonable in the duration, scope or area of
               restriction, then those restrictions may be applied to only the activities and territory, and only for
               the period of time, that the court determines reasonable in light of all the circumstances then
               existing.

          8.   Non-Solicitation. For a period of one year immediately following the termination of my
               employment with the Company, I shall not, directly or indirectly, recruit, solicit, attempt to
               persuade, or assist in the recruitment or solicitation of, any employee of the Company who was
               an employee, officer or agent of the Company during the three month period immediately
               preceding the date of termination of my employment, for the purpose of employing him or her
               or obtaining his or her services or otherwise causing him or her to leave his or her employment
               with the Company.

          9.   Miscellaneous.

                   (a) No Waiver. No waiver by the Company of any breach by me of this Agreement shall be
                       deemed a waiver of any succeeding breach.
                   (b) Binding Effect. This Agreement shall be binding on and inure to the benefit of the
                       affiliates, successors and assigns of the Company and, as applicable, to my heirs, assigns
                       and legal representatives. This Agreement shall supersede the terms of any prior written
                       or oral agreement between the Company and me, and may be modified or amended
                       only by written agreement between the Company and me.
                   (c) Governing Law. This Agreement shall be governed by and construed in accordance with
                       the laws of the State of Colorado.
                   (d) Severability. Should any portion of this Agreement be judicially held invalid, that holding
                       shall not invalidate the remainder of this Agreement. The portion held to be invalid,
                       unenforceable or void shall, if possible, be deemed amended, reduced in scope or
                       stricken, but only to the extent required for purposes of validity and enforcement.

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                   (e) Irreparable Harm. I acknowledge that the Company would suffer irreparable harm from
                       any violation of this Agreement. In the event of violation or threatened violation, the
                       Company shall be entitled to injunctive relief, without notice to me or the posting a
                       bond, and in addition may recover money damages.
                   (f) Venue. Any disputes under this Agreement must be brought in the appropriate state
                       courts for the State of Colorado, or the U.S. District Court for the District of Colorado
                       (and I acknowledge personal jurisdiction of an venue in those courts), and in any such
                       judicial proceedings I will not request a jury trial on any claim or counterclaim. In
                       addition, if successful on the merits, the Company shall be entitled to recover from me
                       all of its legal fees and all other expenses of litigation.
                   (g) Survival. My duties under this Agreement shall survive termination of my employment
                       with the Company, regardless of whether termination is voluntary or involuntary,
                       rightful or wrongful, and shall continue until the Company consents in writing to the
                       release of my obligations under this Agreement.

          10. At-Will Employment. This Agreement is not a contract of employment. My employment with
              the Company is at-will, and may be terminated by either party at any time without cause, prior
              notice or liability beyond wages owed and benefits then accrued. No promise to the contrary has
              ever been made to me.



      By electronically indicating my agreement to the terms of this Agreement, I hereby acknowledge the
      following: (i) that this is a legally binding agreement, ii) that I have read and understand this
      Agreement, (iii) that I have had the opportunity to have the Agreement reviewed by my legal counsel,
      and (iv) that I am executing this Agreement of my own free will and not under duress of any kind.




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                                              APPENDIX A

      I hereby disclose the following Employment Agreements, Patents and Inventions:




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